                     Case: 23-90022 Document: 12 Page: 1 Date Filed: 07/21/2023
                  127,&(2)FORM FOR APPEARANCE 6HH)LIWK&LU5XOH
Only attorneys admitted to the Bar of this Court PD\ practice before the Court. Each attorney representing
a party must complete a separate form. (COMPLETE ENTIRE FORMXQOHVVRWKHUZLVHQRWHG).
                              )LIWK&LU&DVHNO.          23-90022

Anadarko Petroleum Corporation                                              vs. Georgia Firefighters' Pension Fund
(6KRUW7LWOH)
The Clerk will enter my appearance as Counsel for Anadarko Petroleum Corporation, R. A. Walker,

 Robert G. Gwin, Robert P. Daniels, Ernest A. Leyendecker, III

______________________________________________________________________________________________________________
(Please list names of all parties represented, attach additional pages if necessary.)
The party(s) I represent IN THIS COURT               ✔ Petitioner(s)             Respondent(s) Amicus Curiae

                                         Appellant(s)                  Appellee(s)                              Intervenor

   ✔ I certify that the contact information below is current and identical to that listed in my Appellate Filer
Account with PACER.
  /s/ Kevin J. Orsini                                                             korsini@cravath.com
(Signature)                                                                      (e-mail address)

 Kevin J. Orsini                                                                  New York/4261806
(Type or print name)                                                             (State/Bar No.)

 Partner
(Title, if any)

 Cravath, Swaine & Moore LLP
 @@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@
(Firm or Organization)
Address                  825 Eighth Avenue

City & State New York, NY                                                                              Zip 10019

Primary Tel._ (212) 474-1000                   Cell Phone:                                         2SWLRQDO
NOTE: When more than one attorney represents a single party or group of parties, counsel should designate a lead counsel. In
the event the court determines oral argument is necessary, lead counsel only will receive via e-mail a copy of the court's docket
and acknowledgment form. 2ther counsel PXVWPonitor the court's website for the posting of oral argument calendars.
Name of Lead Counsel: BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                          Kevin J. Orsini
A. Name of any Circuit Judge of the Fifth Circuit who participated in this case in the district or bankruptcy court.


B. Inquiry of Counsel. To your knowledge:
           (1) Is there any case now pending in this court, which involves the same, substantially the same, similar or related isssue(s)?
                                        Yes                           No
                                                                  ✔
           (2) Is there any such case now pending in a District Court (i) within this Circuit, or (ii) in a Federal Administrative Agency which
           would likely be appealed to the Fifth Circuit?
                                         Yes                          No
                                                                  ✔
           (3) Is there any case such as (1) or (2) in which judgment or order has been entered and the case is on its way to this Court by appeal,
           petition to enforce, review, deny?
                                          Yes
                                                                  ✔    No

         (4) Does this case qualify for calendaring priority under 5th Cir. R. 47.7? If so, cite the type of case
If answer to (1), or (2), or (3), is yes, please give detailed information. Number and Style of Related Case




Name of Court or Agency

Status of Appeal (if any)_
Other Status (if not appealed)
NOTE: Attach sheet to give further details.                                                                         DKT-5A REVISED -XQH
